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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:20-cv-03139-NYW-MEH

  ALLSTATE INSURANCE COMPANY,

                         Plaintiff,

                 v.

  JOHN CRUZ,

                         Defendant.


                          ALLSTATE’S MOTION TO REOPEN AND
                         FOR ORDER TO SHOW CAUSE AND ENJOIN


         Plaintiff Allstate Insurance Company (“Allstate” or “Plaintiff”) respectfully moves this

  Court (the “Motion”), pursuant to the Court’s inherent authority to reopen this matter, to a) issue

  an order to show cause as to why Defendant John Cruz (“Cruz”) should not be held in contempt

  of court for violating the Protective Order issued by the Court and the Court’s dismissal order of

  March 5, 2024 (Dkts. 55 and 269), and b) enjoin Cruz from making further baseless and

  disparaging statements about Allstate and publicly disseminating Allstate’s confidential

  information.


         Pursuant to Local Rule 7.1(a), Scott Humphrey, counsel for Allstate, attempted in good

  faith to confer with Cruz, via phone and via email in an attempt to resolve the disputes stated herein

  (See Exhibit A, Declaration of J. Scott Humphrey, ¶ 5). Allstate’s efforts to resolve this dispute

  proved unsuccessful, thereby requiring the filing of the instant Motion.
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                                          INTRODUCTION


         Since the inception of this lawsuit, Cruz has undergone a targeted campaign to harass

  Allstate in the public eye through lie after lie about Allstate’s business practices. In doing so, Cruz

  repeatedly displayed a general disregard for this Court’s orders and authority in furtherance of a

  misinformation campaign that, among other things, displayed a repeated disregard for the truth.

  One example of Cruz’s lies is his allegation that Allstate publicly shares its customer’s personal

  information (Date of Birth, Social Security Number, Driver’s License Number). This is simply

  not true and, not surprisingly, Cruz has never produced any evidence to support this claim (because

  no such evidence exists).


         More specifically, during the pendency of this litigation, Cruz repeatedly alleged/lied that

  Allstate shares personal customer information with third parties. In so alleging, Cruz claimed,

  among other things, that Allstate allowed representatives to “receive gift cards for the referring,

  sharing, and transferring of customer personal information to anyone.” (Dkt. 259 at 2-3). Cruz

  even went so far as to lodge counterclaims against Allstate based on these fabricated allegations.

  Since Cruz never provided any evidence of the allegations—despite taking numerous depositions

  and issuing discovery requests--the Court granted summary judgment to Allstate on Cruz’s

  counterclaims.


         Allstate and the Court thought Cruz’s lies were over when Cruz agreed to voluntarily

  dismiss all of his claims against Allstate with prejudice on March 5, 2024. (Dkt. 272). As noted

  above, Cruz’s “dismissal” came after the Court granted Allstate summary judgment on all of

  Cruz’s claims against Allstate and, in doing so, found that Cruz had put forth no evidence to

  support his claims. In agreeing to voluntarily dismiss his claims with prejudice, Cruz agreed to



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  stop making allegations about Allstate sharing personal customer information. He also abandoned

  these claims when agreeing to a dismissal of his counterclaims on March 5th.


         Unfortunately, and as more fully discussed below, Cruz never intended to comply with the

  March 5th order. In fact, Cruz had already begun his public misinformation campaign against

  Allstate, and the publication of Allstate confidential information, before March 5th. Even more

  disturbing, Cruz’s misinformation campaign and lies are ongoing. Cruz’s misinformation

  campaign includes once again claiming on two separate websites, an Instagram account, a

  LinkedIn account, and a Facebook account that Allstate is publicly sharing personal customer

  information. Cruz again provides no evidence to support these lies but is publicly displaying

  information, namely deposition transcripts, that Allstate designated “Confidential” pursuant to the

  Protective Order entered by the Court in this case (the “Protective Order”). (Dkt. 55).


         Needless to say, Allstate is harmed and will continue to be harmed by Cruz continuing to

  publicly state lies about Allstate and publicly disseminating Allstate confidential information.

  Efforts to amicably resolve this matter with Cruz have been entirely ignored. In light of Cruz’s

  repeated pattern of harassing behavior, lies, and unauthorized disclosures, it is apparent that Cruz

  will continue to disseminate Allstate confidential information and spread knowingly false

  statements about Allstate absent Court intervention. As such, Allstate respectfully requests that

  this Court a) re-open the Case, b) issue an order to show cause as to why Cruz should not be held

  in contempt of court for violating the Protective Order and the March 5th Order, and c) enjoin Cruz

  from further disseminating Allstate confidential information and making false statements about

  Allstate sharing personal customer information.




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                                   RELEVANT BACKGROUND


         I.      Cruz Violates His Exclusive Agency Agreement with Allstate.


         Cruz is a former Allstate agent who sold Allstate products from 2011 to 2020. (Dkt. 236,

  p. 2). Under the terms of Cruz’s Exclusive Agency Agreement, Cruz could not sell other insurance

  products that competed with Allstate. (Id.). In October 2019, an internal Allstate investigation

  revealed that Cruz was selling insurance products in competition with Allstate despite his

  Exclusive Agency Agreement with Allstate. (Id.). Allstate terminated Cruz for violating the

  Agreement. (Id.). Following his termination, Cruz continued to solicit business from Allstate

  customers and otherwise violate the terms of the Agreement.


         As a result, on October 20, 2020, Allstate filed suit (the “Case”) against Cruz based on his

  breach of the obligations he owed Allstate under the Exclusive Agency Agreement and his

  misappropriation of Allstate’s trade secrets. Allstate’s Complaint brought three claims: (1) Breach

  of Contract; (2) violation of the federal Defend Trade Secrets Act; and (3) violation of the Colorado

  Uniform Trade Secrets Act. (Dkt. 1). Cruz filed his Answer on February 5, 2021, raising six

  counterclaims: (1) breach of contract based on nonpayment of commissions; (2) unjust enrichment

  based on nonpayment of commissions; (3) breach of contract based on nonpayment for agency

  termination; (4) breach of the implied covenant of good faith and fair dealing; (5) defamation; and

  (6) discrimination in violation of 42 U.S.C. § 1981. (Dkt. 30). In support of his counterclaims,

  Cruz repeatedly alleged that Allstate shared personal customer information with third parties

  despite the fact that there was simply no evidence to support these claims.


         The parties engaged in written discovery and took several depositions. On February 24,

  2021, this Court entered a Protective Order to facilitate the discovery process. (Dkt. 55). Paragraph


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  2 of the Protective Order defines Confidential Information as “any document, electronically stored

  information, testimony, or response to a discovery request, including any extract, abstract, chart,

  summary, note, or copy made therefrom - not made available to the public - and designated by one

  of the Parties in the manner provided below as containing: customer information, information that

  implicates common law and/or statutory privacy interests; competitive business information or

  information that a party believes is otherwise entitled to protection.” (Id. at ¶ 2). Paragraph 6 of

  the Protective Order prohibits the disclosure of Confidential Information to anyone other than

  attorneys working on the Case, the Parties, the Court, and other persons by written agreement. (Id.

  at ¶ 6). Further, Paragraph 9 of the Protective Order requires the return or destruction of

  Confidential Information upon the conclusion of the Case. (Id. at ¶ 9). Throughout the course of

  discovery, Allstate marked several documents and transcripts Confidential pursuant to the terms

  of the Protective Order, including the deposition transcripts of “Buyer Depot” 1, Richard Poduska,

  Elise Teague, Erika Lousberg, Jodi Lynch, Dino DiCarlo, and Rebecca Martens.


           Both parties later moved for summary judgment on Allstate’s breach of contract claim and

  all of Cruz’s counterclaims. (Dkt. 191, 196). 2 This Court referred these motions to the Honorable

  Michael Hagerty, who issued his Recommendations on April 14, 2023. (Dkts. 200, 221). Judge

  Hagerty recommended granting Plaintiff’s motion and denying Defendant’s motion. (Dkt. 221).

  Defendant filed his Objection on May 23, 2023, and Plaintiff responded on June 6, 2023 (Dkts.

  231, 233).




  1
    Allstate notes that this partial deposition transcript is listed as “Buyer Depot” on Cruz’s Websites, but the deponent
  indicated therein is listed simply as “Buyer.” Allstate is unable to glean the identity of the deponent from Cruz’s
  Websites, but states that the first page of the partial deposition transcript clearly references the Case number for this
  action.
  2
    Neither Allstate nor Cruz moved for summary judgment on Allstate’s trade secrets claims. See Dkt. 236 (“Neither
  of the Parties motions seek summary judgment with respect to Allstate’s trade secret claims.”)


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          This Court granted summary judgment in Plaintiff’s favor on all of Defendant’s

  counterclaims and otherwise denied Defendant’s request for summary judgment on those counts

  (the “Summary Judgment Order”). (Dkt. 236, p. 8). Further, the Court granted Plaintiff’s motion

  for summary judgment on its breach of contract claim as to liability. Almost immediately, Cruz

  began to threaten to appeal the Summary Judgment ruling.


          II.    Cruz Repeatedly Lies To The Court.


          The parties were set for trial on the following: (1) damages for Plaintiff’s breach of contract

  claim; (2) Plaintiff’s violation of the federal Defend Trade Secrets Act; and (3) Plaintiff’s violation

  of the Colorado Uniform Trade Secrets Act. On October 19, 2023, the Court entered its trial

  preparation order and set a trial date of January 22, 2024. (Dkt. 241). Allstate filed an unopposed

  motion to extend the trial, and the Court rescheduled the trial for April 22, 2024. (Dkts. 243, 247).

  The Court also scheduled a mediation for February 5, 2024 and a pretrial conference for March 6,

  2024.


          On January 29, 2024, Cruz filed a Motion to Extend Mediation and Motion to Extend Trial

  Date. (Dkts. 251, 254). Cruz represented that he had obtained “new counsel Benedelow &

  Wolfson LLC” who needed additional time to prepare. (Dkt. 252). Relying on this representation,

  the Court granted Cruz’s motion, rescheduled the settlement conference for March 19, 2024, and

  set a trial date of May 6, 2024. (Dkt. 255, 256, 258). The Court also ordered Cruz’s new counsel

  to file an appearance on or before February 9. (Dkt. 255).


          Cruz’s new counsel did not file an appearance by February 9. This is because Cruz lied

  about Bendelow & Wolfson LLC’s purported representation. Allstate contacted Bendelow &

  Wolfson several times to determine if they represented Cruz, but they did not respond. (Dkt. 260,


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  ¶ 5). Allstate also followed up with Cruz about this purported representation. Cruz remained

  cryptic with Allstate until February 14, 2024, when he finally acknowledged that Bendelow &

  Wolfson did not represent him (Id. at ¶ 6).


         On February 19, Allstate filed its Motion to Cancel Settlement Conference, Continue

  Pretrial Conference, and Hold May 6 Trial Date. (Dkt. 260). As of February 19, Cruz did not have

  representation and stated that he would not engage in good-faith settlement discussions. Allstate’s

  motion established Cruz’s repeated misrepresentations to this Court and asked the Court to

  reschedule the pre-trial conference due to unrelated scheduling concerns.


         The next day, Cruz filed his own Motion to Cancel Settlement Conference, Move Pretrial

  Conference, and Reschedule May 6 Trial Date. (Dkt. 263). Cruz’s motion acknowledged that he

  did not have new counsel. (Id. at ¶ 7). Cruz further represented that he will be on trial in Boulder

  County on May 6 relating to another matter, “Case #21CV30140, Case #BSCO 21-796.” (Dkt.

  263, ¶ 13). This was another lie.


         Upon receipt of this information, Allstate conducted its own investigation and concluded

  that Cruz is not involved in 21-cv-30140, and that BSCO 21-7196 is not a pending litigation matter.

  (Exhibit A, ¶ 3). Further, Allstate learned that Cruz is the defendant in a pending Boulder County

  criminal matter, Case No. D0072022CR000258. (Exhibit A, ¶ 4). Cruz’s criminal trial is set for

  trial on April 29th, which likely explains his purported unavailability on May 6. This does not,

  however, explain why he lied to this Court about the underlying criminal litigation.


         The Court later took judicial notice that Boulder County Case No. 21-CV-30140 did not

  show any upcoming trial matters. (Dkt. 265). Further, Case #BSCO 21-796 is a police case

  number. (Id.). Based on these misrepresentations, the Court found that Cruz did not show good


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  cause to move the trial date. (Id.). The Court then scheduled an in-person status conference on

  March 5, 2024. (Dkt. 268).


         III.     Cruz Agrees to Dismiss All Claims.


         During the March 5 status conference, Cruz represented that he no longer intended to

  appeal this Court’s summary judgment ruling. Cruz further stated that he was willing to dismiss

  his claims. In response, Allstate agreed to dismiss its remaining trade secrets claims. The parties

  ultimately resolved their differences and stipulated to a dismissal of all claims with prejudice. (Dkt.

  272). Accordingly, this Court dismissed all claims with prejudice and terminated the Case on

  March 5th. (Dkt. 271). The Court also stated on the record that the only comment that either Cruz

  or Allstate could make about the case was that “the parties have amicably resolved their

  differences.”


         Unfortunately, Cruz’s campaign to harass Allstate did not stop here. In fact, Cruz was

  already engaging in misconduct despite the fact that the Court had already ruled against him, and

  despite his representations to the Court resulting in the termination of this Case.


         IV.      Cruz Publicly Posts Confidential Transcripts.


         Unbeknownst to Allstate and the Court when the parties stipulated to a dismissal of all

  claims with prejudice and the Case was terminated, Cruz was continuing his crusade against

  Allstate in another public forum – the internet. On or about March 27, 2024, Allstate learned that

  Cruz launched two websites that published confidential deposition transcripts from this Case and

  contain false statements about Allstate. Cruz owns and operates the two websites: savemepip.com

  and https://pip-personalidentityprotection.com/index (each a “Website”            and, together, the



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  “Websites”). The phone numbers and addresses for both Websites are tied to Cruz’s former

  Allstate Agency location. On its face, both Websites appear to offer “Personal Identity Protection

  Services.” (Exhibit B, Preservation of Save Me Pip Homepage; Exhibit C, Preservation of Personal

  Identity Protection Homepage). However, a quick scroll reveals Cruz’s true purpose in publishing

  these Websites: to further harass and defame Allstate. In addition to generally launching the

  Websites, Cruz took the extra step to advertise his demonstrably false claims (and Allstate’s

  confidential information) by publishing ads on CNN, MSNBC and possibly other media outlets,

  further ensuring the wide-spread reach of his lies.


         PIP-Personal Identity Protection’s Mission Statement is “to protect the Identity of anyone

  who gave Allstate Insurance Company their personal information. Name, Social Security Number,

  Date of Birth, Drivers License. Anyone who gave their personal information to any of Allstate

  subsidiarity companies.” (Exhibit D, Preservation of Save Me Pip About Us; Exhibit E,

  Preservation of Personal Identity Protection Background). It then broadly states “Allstate

  representatives have stated under oath in Federal Court.” (Id.). To support this ambiguous,

  deceptive statement, Cruz attaches confidential deposition transcripts from this litigation. (Exhibit

  B, p. 4; Exhibit C, p. 2). In particular, Cruz attaches partial depositions transcripts from the

  following individuals: “Buyer Depot”, Richard Poduska, Elise Teague, Erika Lousberg, Jodi

  Lynch, Dino DiCarlo, and Rebecca Martens. (Id.). Each of these transcripts are marked

  Confidential pursuant to this Court’s Protective Order.         By publicly posting Confidential

  Information, Cruz is in direct violation of this Court’s Protective Order. Just as important, none

  of these transcripts contain testimony that Allstate is sharing personal customer information.


         Notwithstanding the fact that Allstate only recently learned of the Websites and Cruz’s

  public campaign of misinformation against Allstate therein, a cursory search of Cruz’s social


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   media accounts confirms that Cruz launched the Websites more than a month ago, while the Case

   was still pending and when Cruz was in Court voluntarily dismissing his claims with prejudice.

   (Exhibit F, Preservation of Cruz’ LinkedIn profile). In posts on his LinkedIn profile, Cruz makes

   no effort to conceal the true intent behind the Websites, stating:


                  PIP-Personal Identity Protection was created to protect the Identity
                  of anyone who gave Allstate Insurance Company their personal
                  information. Name, Social Security Number, Date of Birth, Drivers
                  License. Anyone who gave their personal information to any of
                  Allstate      subsidiarity    [sic]    companies:        Go      to:
                  https://lnkd.in/eHqCbUtP Learn the truth.

   (Exhibit G, Preservation of Cruz’s LinkedIn Post).


          Similarly, the Facebook page for “PIP – Personal Identity Protection” contains animated

   videos in which Allstate is directly implicated in the same baseless and inflammatory claims that

   were dismissed by this Court in its Summary Judgment Order. (Exhibit H, Preservation of Personal

   Identity Protection Facebook Page). Notably, in a video published on the PIP Facebook page on

   February 13, 2024 – again, while this Case was still pending – Cruz, via PIP, alleges that Allstate

   sold identities to human traffickers resulting in the rape and pregnancy of a child. This horrifying

   and abjectly false video was captioned “[w]atch how ALLSTATE plays an important role with

   your identify theft.” (Exhibit I, Preservation of 2/13/24 Facebook Video). It is apparent that Cruz’s

   social media efforts to promote the Websites are nothing more than thinly veiled attempts to spread

   misinformation about and vilify Allstate in direct contravention to this Court’s rulings in this Case.


          Allstate attempted to contact Cruz about this violation via phone and email on March 28,

   2024. (Exhibit A, ¶ 5). To date, Cruz has not responded. This Motion follows.




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                                            LAW AND ARGUMENT


            I.     Legal Standards


            Courts routinely enter blanket protective orders that protect the disclosure of confidential

   information. Gillard v. Boulder Valley Sch. Distr. Re.-2, 196 F.R.D. 382, 386 (D. Colo. 2000).

   Protective orders “allow the parties to make full disclosure without fear of public access to

   sensitive information and without the expense and delay of protracted disputes over every item of

   sensitive information…” United Nuclear Corp. v. Cranford Ins. Co., 605 F.2d 1424, 1427 (10th

   Cir.).   Accordingly, such orders serve “the interests of a just, speedy, and less expensive

   determination of complex disputes by alleviating the need for and delay occasioned by extensive

   and repeated judicial intervention.” Gillard, 196 F.R.D. at 386.


            “A district court has broad discretion in using its contempt power to require adherence to

   court orders.” United States v. Riewe, 676 F.2d 418, 421 (10th Cir. 1982); accord O’Connor v.

   Midwest Pipe Fabrications, Inc., 972 F.2d 1204 (10th Cir. 1992). Civil contempt sanctions are

   remedial in nature and are imposed “to compel future compliance with a court order.” Ad-X Int’lv.

   Kolbjornsen, 2008 WL 5101304, at *4 (D. Colo. Nov. 26, 2008). To establish civil contempt, the

   movant need only show, by clear and convincing evidence, three basic elements: (1) a valid court

   order existed; (2) the contemnor had knowledge of the order; and (3) the contemnor disobeyed the

   order. United States v. Ford, 514 F.3d 1047, 1051 (10th Cir. 2008). Once this showing is made,

   the burden then shifts to the contemnor to show that either he complied with the order or that he

   “could not comply” with the order. Id.


            II.    Re-Opening of this Case is Warranted.




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          In light of Cruz’s contemptuous behavior, Allstate has been left with no choice but to

   pursue the instant Motion to reopen this Case and seek to enjoin Cruz’s misconduct. While this

   Case was terminated based on the stipulation of dismissal between the parties, such a stipulation

   operates as a final adjudication on the merits. See Schmier v. McDonald’s LLC, 569 F.3d 1240,

   1242 (10th Cir. 2009) (holding that a voluntary dismissal with prejudice operates as a final

   adjudication on the merits and is thus a final judgment.). “An unconditional dismissal by

   stipulation of the parties terminates federal jurisdiction except for the limited purpose of reopening

   and setting aside the judgment of dismissal within the scope allowed by Rule 60(b).” Jones v.

   Brookdale Emp. Servs., LLC, 2023 WL 3648664, at *2 (D. Colo. May 25, 2023) (internal citations

   omitted).


          Fed. R. Civ. P. 60(b) provides that a court may relieve a party from a final judgment for,

   inter alia, fraud, misrepresentation, or misconduct by an opposing party, or any other reason that

   justifies relief. In evaluating requests for relief from judgment pursuant to Rule 60(b), the Tenth

   Circuit has held that this relief is “extraordinary and may only be granted in exceptional

   circumstances.” Servants of the Paraclete v. John Does, 204 F.3d 1005, 1009 (10th Cir. 2000).

   Such exceptional circumstances must be so “unusual or compelling” that extraordinary relief is

   warranted or when it “offends justice” to deny such relief. See Cashner v. Freedom Stores, Inc.,

   98 F.3d 572, 580 (10th Cir. 1996).


          While the factual circumstances underpinning such requests for relief are varied, the Tenth

   Circuit has found such extraordinary circumstances to exist when, after entry of judgment, “events

   not contemplated by the moving party render enforcement of the judgment inequitable.” See

   Cashner, 98 F.3d at 579. Such extraordinary circumstances exist here, where Allstate could not

   possibly have contemplated the events at issue – the publication of the harassing and defamatory


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   allegations by Cruz and Cruz publicly disclosing information that Allstate designated

   “confidential” under the Protective Order– such that enforcing the judgment in the Case would be

   inequitable.


            Indeed, at the time the parties entered into the stipulation (and thus the judgment), Allstate

   was entirely unaware of Cruz’s defiance of this Court’s prior orders and his clear intent to wage

   an unfounded (and untrue) battle with Allstate in the court of public opinion. Cruz’s actions fall

   squarely under Rule 60(b)(3) dealing with misrepresentation and/or misconduct by an opposing

   party.    When Cruz realized he was at the end of the legal road in pursuing his baseless

   counterclaims against Allstate, he turned his efforts toward publicly vilifying Allstate without any

   regard for this Court’s rulings or orders. Such misconduct, particularly while the Case was still

   pending and without any disclosure to the Court or Allstate, warrants the extraordinary relief

   sought here by Allstate. Put another way, Cruz’s conduct clearly “offends justice” and, in light of

   Cruz’s egregious behavior, Allstate requests this Court reopen this Case and grant such other and

   further relief as requested herein. 3


            III.     Court Enforcement of the Protective Order is Warranted.


            This Court entered a valid and enforceable Protective Order. (Dkt. 55). Cruz knew about

   the Protective Order by virtue of his participation in this litigation and his receipt of confidential

   information. Further, Cruz filed three stipulated Motions for Protective Order prior to this Court




   3
      In addition, Allstate will be filing claims against Cruz for, among other things, defamation, commercial
   disparagement, violation of the Lanham Act, unfair competition and unfair trade practices (collectively, Allstate’s
   “Defamation claims.”) Allstate’s Defamation Claims are new claims that were not part of Allstate’s original claims
   in this matter and were not covered by the dismissal order. If permitted by the Court, Allstate will file the Defamation
   claims through an Amended Complaint under this Court Number or will file a new action against Cruz.


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   entering the operative Protective Order. (See Dkts. 43, 48, 51). Cruz therefore clearly understands

   the importance of the Protective Order. (Dkt. 55).


          Cruz’s publication of seven confidential deposition transcripts on the Websites is a clear

   violation of the Protective Order. Each transcript is clearly marked Confidential. During the

   course of litigation, Allstate reviewed each deposition transcript and made a good faith

   determination that each contained confidential information such that each transcript was entitled

   to protection under the Protective Order. (Dkt. 55, ¶ 3). Accordingly, Allstate designated each

   deposition transcript Confidential pursuant to the parties’ Protective Order. (Dkt. 55). Importantly,

   Cruz never challenged Allstate’s designation.


          Because the transcripts are so designated, Cruz cannot share them with the public unless

   he receives Allstate’s consent. (Dkt. 55, ¶ 6). Cruz did not ask for Allstate’s consent or otherwise

   inform Allstate about his decision to publicly post confidential information. Consequently, Cruz’s

   public disclosure of the transcripts violates the Protective Order.


          Cruz’s intentional publication of confidential information is his latest step in a broad

   scheme to harass Allstate. Allstate is harmed by the disclosure of its confidential information and

   the otherwise false and defamatory statements included on Cruz’s website, Facebook account,

   LinkedIn account and Instagram account. Because monetary damages cannot remedy this type of

   harm, it is critical that the Court enforce the Protective Order and order Cruz to remove confidential

   information from each platform.


          Without such relief, Allstate will continue to suffer reputational harm unless and until Cruz

   is enjoined from further violations of this Court’s Orders. To that end, Allstate seeks an order

   enjoining Cruz from the continued publication of confidential information and baseless assertions


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   against Allstate that were found to be meritless by this Court. See Sciara v. Campbell, 2021 WL

   8321864, at *4 (D. Nev. Mar. 12, 2021) (“[A]n injunction enforcing the Protective Order’s terms

   regarding unauthorized disclosure of confidential material is sufficient at this time to partially

   remedy the harm”); Eli Lilly & Co. v. Gottstein, 671 F.3d 186, 196 (2d Cir. 2010) (characterizing

   an injunction as a “perfectly appropriate device to foreclose further dissemination of confidential

   documents produced under the protective order”).


          Cruz’s disclosure of confidential information also harmed Allstate by causing Allstate to

   incur attorney’s fees in bringing this Motion and enforcing its rights under the Protective Order.

   Accordingly, Allstate requests that this Court order Cruz to pay Allstate’s attorneys fees to

   compensate Allstate for this harm and deter Cruz from future violations. Allied Materials Corp. v.

   Superior Prod. Co., 620 F.2d 224, 227 (10th Cir. 1980) (“In ordering the award of attorneys’

   fees… in this civil contempt case, the court is merely seeking to insure that its original order is

   followed”) (citing Cook v. Ochsner Found. Hosp., 559 F.2d 270, 272 (5th Cir. 1977)); Mgmt.

   Registry Inc. v. A.W. Companies, Inc., 2019 WL 5388488, at *8 (D. Minn. Oct. 22, 2019)

   (awarding attorney’s fees where party exhibited a pattern of intentional violations).


   IV.    Court Enforcement of the Summary Judgment and March 5th Order is Warranted.


          Although Cruz made numerous attempts to convince this Court to accept his false and

   inflammatory narrative about Allstate, the Court was unpersuaded. In the Summary Judgment

   Order, the Court adopted Judge Hagerty’s recommendations with respect to Cruz’s counterclaims,

   including the baseless assertion related to Allstate’s purported “illegal activities.” Therein, this

   Court found Cruz’s allegations against Allstate to be “meritless” and that Cruz “provided no

   evidence” in support of same. (Dkt. 236, p. 19).



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          As Cruz set forth not a scintilla of evidence from which the Court could find any genuine

   issues of material fact as to his counterclaims, these claims – including Cruz’s allegations that

   Allstate shares personal customer information – were dismissed entirely in the Summary Judgment

   Order. Consequently, Cruz is aware of the falsity of his statements and must be enjoined from

   continuing to spread the harmful lies about Allstate that he was wholly unable to substantiate in

   this Case.


          Just as important, Cruz agreed to dismiss his claims against Allstate, including the

   unfounded allegation that Allstate shares personal confidential customer information, when he

   dismissed his claims with prejudice on March 5th. Accordingly, Cruz is in violation of this Court’s

   March 5th Order by continuing to spread the very same lies and false statements about Allstate that

   were found to be meritless by this Court. Such an egregious disregard for this Court’s March 5th

   Order cannot stand and Cruz must be enjoined from his continued publication of false claims

   against Allstate.


                                           CONCLUSION


          WHEREFORE, Plaintiff Allstate Insurance Company respectfully requests that this Court

   issue an order requiring Defendant John Cruz to show why he should not be held in contempt of

   court for violating this Court’s Protective Order, enjoining Cruz from publishing false and

   confidential information, and requiring Cruz to pay Allstate’s costs incurred in bringing this

   Motion, and for any other relief that the Court deems just and equitable.


   Dated: March 29, 2024                                /s/ J. Scott Humphrey
                                                        J. Scott Humphrey
                                                        Katie M. Burnett
                                                        BENESCH, FRIEDLANDER, COPLAN
                                                        & ARONOFF LLP


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                                            Counsel for Allstate Insurance Company




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                                  CERTIFICATE OF SERVICE

          The undersigned, an attorney, states that on March 29, 2024, he caused a true and correct

   copy of the foregoing Plaintiff Allstate Insurance Company’s Motion to Reopen and For Order to

   Show Cause and Enjoin to be served via email upon the following:


                                            John Cruz
                                        408 Widgeon Drive
                                       Longmont, CO 80503


                                                             /s/ J. Scott Humphrey
                                                             J. Scott Humphrey
